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                            UNITED STATES DISTRICT COURT                                FILED
                          SOUTHERN DISTRICT OF CALIFORNIA

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                                                                                 CLERK, U,fi WSrR ••':T COURT
    UNITED STATES OF AMERICA,                     CASE NO. 06CR2050-W
                                                                              :~UT~~~I';Z~~AU~~
                             Plaintiff,
                    vs.                           JUDGMENT       OF DISMISSAL
    JORGUE CASTRO    (02),

                             Defendant.



          IT APPEARING         that the defendant     is now entitled     to be discharged
for the reason that:

        an indictment has been filed in another case against the defendant and
        the Court has granted the motion of the Government for dismissal of
        this case, without prejudice; or

        the Court has dismissed       the case for unnecessary       delay; or

~       the Court has granted      the motion   of the Government       for dismissal;             or

       the Court has granted       the motion of the defendant        for a judgment              of
       acquittal; or

       a jury has been waived,       and the Court has found the defendant                 not
       guilty; or

       the jury has returned       its verdict,    finding   the defendant        not guilty;

~      of the offense(s) of:8 USC 1324 (a) (2) (8) (ii);8 USC
       1324 (a) (2) (B) (iii) :18 USC 2.

            IT IS THEREFORE       ADJUDGED   that the defendant      is hereby discharged.


DATED:    11/22/06

                                                THOMAS J. Wtl,ELAN
                                                UNITED STATES DISTRICT           JUDGE
